          Case 2:15-cv-04598-ER Document 26 Filed 12/16/15 Page 1 of 5



                           UNITED STATES DISTRICTCOURT
                         EASTERN DISTRICT OF PENNSYLVANIA

Genesis Whittaker                           :
3152 Fox Street                             :
Philadelphia, PA 19132                      :       NO.:   15-4598
                                            :
                              Plaintiff,    :
                                            :
               v.                           :
                                            :
Boulevard Autogroup, LLC                    :
d/b/a Barbera’s Autoland, et al.            :
7810 Roosevelt Blvd                         :
Philadelphia, PA 19152                      :       JURY TRIAL DEMANDED
                                            :
                              Defendants.   :

                                            ORDER

       AND NOW this ___________ day of __________, 2015, upon consideration of

Defendant’s Motion to Compel Arbitration, and Plaintiff’s Response in Opposition thereto, it is

hereby ORDERED and DECREED that Defendant’s Motion is DENIED.

       AND IT IS SO ORDERED.




                                                    ________________________________
                                                    Eduardo C. Robreno           ,J.
          Case 2:15-cv-04598-ER Document 26 Filed 12/16/15 Page 2 of 5



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                              Plaintiff,    :
                                            :
               v.                           :
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d/b/a Barbera’s Autoland, et al.            :
7810 Roosevelt Blvd                         :
Philadelphia, PA 19152                      :      JURY TRIAL DEMANDED
                                            :
                              Defendants.   :

     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
                         COMPEL ARBITRATION

       Incorporating by reference Plaintiff’s attached Memorandum of Law, Plaintiff

respectfully requests this Honorable Court deny Defendant’s Motion to Compel arbitration.


                                                   WEISBERG LAW


                                                   /s/ Matthew B. Weisberg
                                                   Matthew B. Weisberg, Esquire
                                                   Attorney for Plaintiff
          Case 2:15-cv-04598-ER Document 26 Filed 12/16/15 Page 3 of 5



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                                             :
                              Defendants.    :

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S RESPONSE IN
      OPPOSITION TO DEFENDANT’S MOTION TO COMPEL ARBITRATION

       In the first instance, these arbitration agreement(s) are not subject to a Motion to Compel

– without intervening discovery. See generally, Guidotti v. Legal Helpers Debt Resolution,

LLC, 716 F.3d 764, 780 (C.A.3 2013).

       Plaintiff respectfully requests this Honorable Court convert the within Motion to one for

Summary Judgment to allow intervening discovery. In re Burlington Coat factory Sec. Litig.,

114 F.3d 1410, 1426 (C.A.3 1997); Schmidt v. Skolas, No. 13-3750 (C.A.3 Oct. 17, 2014)

(quoting Watterson v. Page, 987 F.2d 1, 3-4 (C.A.1 1993)). To that end, (i.e., discovery),

Plaintiff will there seek Movant’s corporate designee’s deposition as well as “deal” documents –

attempting to demonstrate that the underlying arbitration agreement(s) was, as is evident (and

discussed below), conflicting and confusing (and thus, void). Blair v. Scott Specialty Gases, 283

F.3d 595, 605 (quoting ATACS Corp. v. Trans World Communications, Inc., 155 F.3d 659, 666

(C.A.3 1998); Aircraft Guar. Corp. v. Strato-Lift, Inc., 103 F.Supp.2d 830, 836 (E.D.Pa. 2000).
          Case 2:15-cv-04598-ER Document 26 Filed 12/16/15 Page 4 of 5



       As demonstrated by Movant’s Motion’s Exhibits (A & B), Movants submit two (2)

arbitration agreements – each nullifying the other: rendering arbitration void. Id. Indeed, it is

well-settled that the Pennsylvania Motor Vehicle Sales Finance Act precludes addendum

arbitration agreements to a retail installment sales contract (in that end, any addendums at all).

Knight v. Springfield Hyundai, 81 A.3d 940 (Pa.Super. 2013).

       Lastly, requiring Plaintiff to participate in arbitration – where she is only reimbursed up

to $1,500.00 by Movant – renders the arbitration unaffordable: thereby improperly vitiating

Plaintiff’s statutory rights. Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 28 (S.Ct. 1991)

(citing Mitsubishi Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614 (S.Ct.).; Cole v. Burns

Int’l. Sec. Serv., 105 F.3d 1465, 1482-85 (D.C.Cir. 1997); Paladino v. Avnet Computer Tech.,

Inc., 134 F.3d 1054, 1060 (C.A.11 1998); Graham Oil Co. v. ARCO Prod. Co., 43 F.3d 1244,

1248-49 (C.A.9 1994). If converted to a Motion for Summary Judgment with leave towards

interim discovery, Plaintiff will produce evidence that she simply cannot afford arbitration.

       WHEREFORE, Plaintiff respectfully requests this Honorable Court deny Defendant’s

Motion to Compel Arbitration.



                                                      WEISBERG LAW


                                                      /s/ Matthew B. Weisberg
                                                      Matthew B. Weisberg, Esquire
                                                      Attorney for Plaintiff
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                                             :
                              Defendants.    :

                                   CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 16th day of December, 2015,

a true and correct copy of the foregoing Plaintiff’s Response in Opposition to Defendant’s

Motion to Compel Arbitration and Memorandum of Law in Support thereof was served via ECF

upon the following parties:


                                   Garen Meguerian, Esquire
                               Garen Meguerian, Attorney At Law
                               21 Industrial Boulevard, Suite 201
                                        Paoli, PA 19301

                                     Mark W. Skanes, Esquire
                                      Rose Waldorf, PLLC
                                      501 New Karner Road
                                       Albany, NY 12205


                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    MATTHEW B. WEISBERG
                                                    Attorney for Plaintiffs
